         Case 5:16-cv-00855-OLG Document 54 Filed 11/10/17 Page 1 of 1



                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

Julio Trujillo Santoyo,                         §
                                                §
      Plaintiff,                                §
                                                §
V.                                              §    CIVIL ACTION NO. 5:16-cv-855 OLG
                                                §          (Consolidated Lead Case)
Bexar County, Texas, et al.                     §
                                                §
                                                §
      Defendants.                               §

                                    NOTICE OF APPEAL

       Notice is hereby given that Julio Trujillo Santoyo, plaintiff in the above named case, hereby

appeals to the United States Court of Appeals for the Fifth Circuit from an order dismissing

plaintiff’s claims against certain federal defendants and denying plaintiff’s motion to compel

discovery entered in this action on the 18th day of October, 2017.

                                     Respectfully submitted,

November 10, 2017                    /s/ Juan Carlos Rodríguez
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